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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

          v.                                          08-CR-0077

LINDA O’CONNOR,

                                    Defendant.

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THOMAS J. McAVOY
Senior United States District Judge

                                             ORDER

          At approximately 11:45 a.m. on Thursday, April 24, 2008, counsel for Defendant

Dean Sacco submitted an ex parte motion to withdraw as counsel. Recognizing that neither

the government nor Defendant O’Connor are privy to the basis for the motion, the Court,

nonetheless, would like the government and Defendant O’Connor to set forth their positions

on the motion, including their positions on the possibility of an adjournment of the trial in this

matter.

IT IS SO ORDERED.

Dated:April 24, 2008
